         Case 0:19-cr-60259-CMA
AO 91 ~ev.lllll) Criiliinal Complaittt            Document 1 Entered on FLSD Docket 08/30/2019 Page 1 of 1

                                   UNITED STATES DISTR:ICT"C'OURT      '         '                .~      .   (   /   '       .    \
                                                                       fot:;the.
                                                       Southem.bistrictof,Fl6ri.da

               P~ted.'States      c:>f Americ~·                              )
                             v.                                              )
                       .C,ellicia Huh.!                                      }            Case No .
                                                                             )                         19~6420-SNOW
                                                                             )
                                                                             )
                                                                             )




         I,- the .complainant in this c~e. s~t~ that the following i~ true:to:the best of my knowledge and. belief.
On or about the-date(s)
                     .
                        of ---·--·""-·------:--
                              _ August39,       ...
                                                    .2019 .
                                                   --.--~-:'":""'--.
                                                                    in the county of                                              Broward-----
                                                                                                                                          -    ·- in the
    Southern     _Pi$trict of __ ... ·-~5>ri£1~:.,--.,·---, the defendant{s}violated'
           -Coile' Section                                                                  ·OffenseDescnption.
1a u~s.c. a·44(f}(1)                              Maliciously attempt to damage and· destroy by means of ~re ·?I· building _in
                                                  whole ..or In part owned or, possessed or leased by a department agency of                or
                                                  the United States; that is, the Ul')ited States Citizenship and Immigration
                                                  Services.            · ·           ··                                   ·




           rhis crhninal compla:in,tis based Qtl these facts: . .·. . . . ·' .           . . . . . ... ..
 On August 30, 2019, tile defendant, Celli cia Hunt; approacl~ed .a: b\lildi:t1g po_ssessed- by the United States Citizenship and
 Immigration Services, a department or agency of the United 'Stat~si at4451 NW 31st Avenue~· Oakland. Park, Broward
 County,_.Florida. The defendantJit frre·to a wick inserted into a: glass bottle containing gasoline, opened the door and threw
 the bottle into thelobby of the building. The flaming wick seJf"-~xtinguishe.d when the bottie was thrown. The bottle. landed
 on the floor and shatter.ed, but the gasollne did n:ot'ignite. SecuritY guards:c:>bser\Te<f the defendant's actio~ and apprehended
'her outside: Tit~ incicl,ent was rec(lrded by 'Security .camera$.                                                    ·
          ·o. Continued on the attached sheet



                                                                                            Scc)ttUnger; Special Age f, ~~_!!leland SecUrity lriv.
                                                                                                            Printed name and rille

 Sworn to .before. me and signed in my presence~


 Date:

 City and state:                   Fort Lauderdale, Fiorida                                   Lurana S ...Sno.W, United States Magistrate Judge -
                                                        ----'-----                                             Printednaine and title
